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 9                            UNITED STATES DISTRICT COURT
10                           SOUTHERN DISTRICT OF CALIFORNIA
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12     JAVO BEVERAGE CO., INC.,                           Case No.: 19-CV-1859-CAB-WVG
13                                       Plaintiff,
                                                          ORDER GRANTING JAVO
14     v.                                                 BEVERAGE CO.’S MOTION FOR
                                                          LEAVE TO FILE DOCUMENTS
15     CALIFORNIA EXTRACTION
                                                          UNDER SEAL
       VENTURES, INC. AND STEPHEN
16
       COREY,
                                                          [Doc. No. 48]
17                                    Defendants.
18
       AND RELATED COUNTERCLAIMS
19
20
21          The Court, having considered Plaintiff Javo Beverage Co., Inc.’s (“Javo”) Motion
22    to Seal Reply in Support of Javo’s Motion for Preliminary Injunction and Supporting
23    Documents [Doc. No. 48], hereby GRANTS Javo’s Motion. Accordingly, Javo shall
24    redact and file under seal any portion of their reply referencing information already sealed
25    previously by the Court, or otherwise refer to Javo’s confidential or trade secret
26    information that Javo has designated as Confidential or Outside Attorneys’ Eyes Only.
27          The Court also finds good cause to further restrict access to sealed information that
28    Javo has designated “Outside Attorneys’ Eyes Only” to Defendants’ outside litigation

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                                                                               19-CV-1859-CAB-WVG
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 1    counsel only, as set forth in Doc. No. 36.
 2          Defendants are also GRANTED leave to file a sur-reply that is limited to responding
 3    only to any additional evidence that Javo submits in its reply by January 21, 2020 and
 4    not to exceed five pages.
 5          It is SO ORDERED.
 6    Dated: January 15, 2020
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